                        IN THE UNITED STATES DISTRICT COURT
                                                                                     r
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION                             8fl   DEC 28       AM   8:   32

FLOSPORTS, INC.,
                      PLAINTIFF,
                                            §
                                            §
                                                                              :.          ..
                                                                                              -
                                            §             CAUSE NO. A-17-CV-l043-LY
V.                                          §
                                            §
WWN, INC.,                                   §
                      DEFENDANT.             §

                                            ('ID fl1' 1



       IT IS HEREBY ORDERED that Defendant's Motion to Dismiss for Lack of Personal

Jurisdiction filed December 11, 2017 (Doc. #13) and Plaintiffs Response to WWN's Motion to

Dismiss filed December 22,2017 (Doc. #18) are REFERRED to United States Magistrate Andrew

Austin for Report and Recommendation pursuant to 28 U.S.C. § 636(b)(1)(B), Federal Rule of Civil

Procedure 72, and Rule 1(d) of Appendix C of the Local Rules of the United States District Court

for the Western District of Texas, as amended.

       SIGNED this                 day of December, 2017.




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                                            UN ED STATES DISTRICT JUDGE
